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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                OAKLAND DIVISION


 EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR-TSH
              Plaintiff, Counter-defendant,
                   v.
 APPLE INC.,                                        OBJECTIONS TO SPECIAL MASTER
                  Defendant, Counterclaimant.       DETERMINATIONS ISSUED
                                                    JANUARY 25, 2025 REGARDING
                                                    APPLE’S RE-REVIEWED
                                                    DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
        Pursuant to Section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following Objections to
certain of the Special Masters’ privilege determinations issued on January 25, 2025, regarding
Apple’s production of re-reviewed documents.
        Epic does not have access to the documents and is therefore unable to fully assess the
bases on which Apple claims privilege. However, based on the information provided in Apple’s
privilege logs for the documents and their families, as well as certain documents that Apple did
produce, Epic believes several of the documents for which Apple maintained privilege assertions
that were sustained by the Special Masters are in fact not privileged. Furthermore, several
documents appear to be similar, if not identical, to documents in which Apple withdrew its
privilege assertions. Epic respectfully requests that the Court review the following documents in
camera and reject Apple’s privilege assertions pertaining to these documents, in whole or in part.
       Documents for which Apple Withdrew its Privilege Assertions
        Entry Nos. 1072 (PRIV-APL-EG_00033739), 1073 (PRIV-APL-EG_00033745) and
1074 (PRIV-APL-EG_00033746) appear to be, based on the file name and the bases of Apple’s
privilege assertions over these Entries, identical to Entry Nos. 337 (PRIV-APL-EG_00019072),
338 (PRIV-APL-EG_00019078) and 339 (PRIV-APL-EG_00019079) respectively. Epic already
objected to the Special Masters’ determinations to uphold Apple’s privilege assertions over Entry
Nos. 337, 338 and 339 on the grounds that they were primarily for a business purpose.
(Dkt. 1126 at 2.) In response, Apple withdrew its privilege assertions over these documents.
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(Dkt. 1131 at 5.) If Entry Nos. 1072, 1073 and 1074 are in fact similar or identical versions of
the same documents, as they appear to be, Apple’s privilege assertions over those Entries should
be likewise withdrawn.
       Press Communications
        Entry No. 1093 (PRIV-APL-EG_00034025) is a “DMA Newsroom Post”, likely a draft
of updates to Apple’s compliance program in the European Union, to be posted publicly on a
web page. Apple indicates on its privilege log that the parent email, to which Entry No. 1093
was attached, “says the teams are continuing to iterate[] on this” and that an attorney was copied.
That description does not suggest legal advice is conveyed or requested. Therefore, to the extent
that the attachment itself does not contain comments or annotations left by attorneys directly
conveying legal advice, it is not privileged and cannot be withheld.
       Employee Chats
       Entry No. 1046 (PRIV-APL-EG_00033294) is a Slack conversation between multiple
engineers and one Apple in-house counsel. The custodian for the document is Jeff Guebert, non-
lawyer program manager. A similar document that Apple did produce (APL-EG_11132326,
submitted herewith and marked Exhibit A) shows that the participants primarily discuss
engineering and user interface considerations for Apple’s compliance in the European Union,
with minimal redactions for comments made by and questions directed at Apple in-house counsel
Ling Lew. This document should not be withheld in its entirety, as Apple asserted in its privilege
log. Therefore, Apple’s assertion should be rejected and the document should be produced (at
most with redactions).
       Likewise, Entry No. 1219 (PRIV-APL-EG_00035780) is a Slack conversation from the
same channel as Entry No. 1046 above. The custodian for the document is Latika Kirtane, a
non-lawyer. A similar document that Apple did produce (APL-EG_11531464, submitted
herewith and marked Exhibit B) shows that this conversation, too, is primarily about
engineering concerns. This document should not be withheld in its entirety, and should be
produced (at most with redactions).




 DATED: January 30, 2025                             CRAVATH, SWAINE & MOORE LLP
                                                     By: /s/ Yonatan Even
                                                     Counsel for Plaintiff Epic Games, Inc.




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